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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

IN RE: CHINESE-MANUFACTURED                       MDL NO. 2047
DRYWALL PRODUCTS LIABILITY                        SECTION: L
LITIGATION                                        JUDGE FALLON
                                                  MAG. JUDGE WILKINSON


          SUMMARY NOTICE OF INEX CLASS ACTION SETTLEMENT

 YOU MAY BE ENTITLED TO RECEIVE A SETTLEMENT PAYMENT IF YOU ARE
 A MEMBER OF THE CONDITIONAL SETTLEMENT CLASS CONSISTING OF:

 All persons or entities with claims, known and unknown, against the Settling Defendants arising
 from, or otherwise related in any way to Chinese Drywall sold, marketed, distributed, and/or
 supplied by Interior/Exterior Building Supply, L.P. (“InEx”).

 This Notice is only a summary. A more detailed copy of the Class Notice may be obtained from
 Class Counsel, Russ Herman, HERMAN, HERMAN, KATZ & COTLAR, LLP, 820 O’Keefe Avenue,
 New Orleans, Louisiana 70113, telephone number (504) 581-4892.

 Capitalized terms in this Notice have the same meaning as those defined in the InEx Settlement
 Agreement. The Settlement Agreement is posted on the District Court’s Chinese Drywall MDL
 website at http://www.laed.uscourts.gov/Drywall/________.pdf, the CPSC website, the
 Department of Health websites for Alabama, Louisiana, Mississippi and Texas, and
 _______________.

                        Description of the Settlement and Claims

 The Settlement is intended to resolve claims brought against InEx for the sale, marketing,
 distribution and/or supply of Chinese Drywall that was used in the construction of properties in
 the United States. Plaintiffs have filed complaints against InEx to recover the costs of
 remediating their properties damaged by Chinese Drywall and other damages. InEx denies any
 wrongdoing whatsoever.

 The Court has conditionally certified the class for settlement purposes only. The Court has not
 determined the merits of any claims or defenses of the parties. The InEx Settlement will become
 effective only upon final approval by the Court.

 If approved, a Settlement Fund of $8,000,000, minus payments made in prior Chinese Drywall
 settlements with InEx and minus the costs of Notice advanced by the Insurers, will be created
 from insurance proceeds from the Insurers. InEx will assign its rights to $72 million of excess
 liability insurance to Class members with claims arising from Affected Property located in states
 other than Louisiana. Louisiana claimants will have the right to pursue in a direct action InEx’s
 excess insurance to the extent of the Available Policy Limits. The Settlement Fund will be
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allocated to pay for the costs of remediating Affected Properties and other damages. The
Settling Defendants are not permitted to receive any of the Settlement funds.

The Plaintiffs’ Steering Committee, common benefit attorneys and private counsel for Class
members are seeking in the aggregate an award of attorneys’ fees of no more than 32% of the
Settlement Fund, plus reimbursement of reasonable expenses including the costs of Notice.

                                 Requests for Exclusion

Class members may request exclusion from the Conditional Settlement Class. If you request
exclusion, you will be excluded from sharing in the benefits of this Settlement. The procedure
for requesting exclusion is set forth in detail in the Class Notice. Requests for exclusion must
be post-marked on or before _______________, 2011.

                                   Settlement Hearing

A formal hearing will be held in Courtroom __ of the United States Courthouse, 500 Poydras
Street, New Orleans, Lousisana 70130, at _______ _.m., on _________, 2011, to determine
whether: the Settlement is fair, reasonable and adequate and should be approved finally; the
Class should be finally certified; and the Litigation dismissed with prejudice as to the Settling
Defendants.

At the Fairness Hearing, Class members may object to the Settlement, provided that the
procedure for objection set forth in the Class Notice is followed. On or before
___________________, 2011, you must provide notice in writing of your intent to object to the
Settlement.

Any Class member who does not timely object to the Settlement shall be deemed to have waived
all objections.

                             Effect of Final Court Approval

If the settlement is approved, the Litigation will be dismissed with prejudice as to InEx, Arch
Insurance Company and Liberty Mutual Fire Insurance Company, and the other Settling
Defendants. Unless you exclude yourself from the Settlement, upon Court approval of the
Settlement, you will be bound by the Settlement including the judgment of dismissal.

Dated: New Orleans, Louisiana
______________________, 2011
/s/ ELDON E. FALLON
Judge, United States District Court
for the Eastern District of Louisiana




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